            Case 1:13-cv-01036-GLR Document 88 Filed 09/27/19 Page 1 of 2



                          IN UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND

KENNETH LUCERO,                             *

                             Plaintiff,     *
       v.
                                            *       Civil No.: 1:13-cv-01036-GLR

WAYNE A. EARLY, et al.,                     *

                             Defendants. *

*      *        *     *      *      *       *       *     *      *        *     *      *

                                   NOTICE OF APPEAL

       Notice is hereby given that the Baltimore Police Department, defendant in the above

captioned case, hereby appeals to the United States Court of Appeals for the Fourth Circuit the

Order entered in this case on September 25, 2019.



                                            Respectfully submitted,

                                            Andre M. Davis
                                            BALTIMORE CITY SOLICITOR

                                                   /s/
                                            Kara K. Lynch (29351)
                                            Chief Solicitor
                                            Baltimore City Law Department
                                            Office of Legal Affairs
                                            100 N. Holliday Street, Room 101
                                            Baltimore, Maryland 21202
                                            Telephone: (410) 396-2496
                                            Facsimile: (410) 396-2126
                                            E-mail: kara.lynch@baltimorepolice.org

                                            Attorneys for Defendant BPD
         Case 1:13-cv-01036-GLR Document 88 Filed 09/27/19 Page 2 of 2



                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 27th day of September, 2019, a copy of the foregoing

Notice of Appeal was served on all counsel of record via the Court’s CM/ECF filing system.


                                                         /s/    ________
                                                   Kara K. Lynch (29351)
